                                        Case 3:20-cv-07811-RS             Document 152        Filed 10/30/24      Page 1 of 2




                                   1                                     UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3

                                   4          United States of America           ,            Case No. 3:20-cv-07811-RS
                                                         Plaintiff(s),
                                   5
                                                                                              APPLICATION FOR ADMISSION OF
                                                  v.
                                   6                                                          ATTORNEY PRO HAC VICE
                                                                                              (CIVIL LOCAL RULE 11-3)
                                   7          Approximately 69,370 Bitcoint, al.
                                                                             et al.,

                                                         Defendant(s).
                                   8

                                   9

                                  10           I, Rod J. Rosenstein            , an active member in good standing of the bar of

                                  11   Washington, D.C.                        , hereby respectfully apply for admission to practice pro hac

                                  12   vice in the Northern District of California representing: Battle Born Investment Co, LLC, et al. in the
Northern District of California
 United States District Court




                                  13   above-entitled action. My local co-counsel in this case is Joseph N. Akrotirianakis             , an

                                  14   attorney who is a member of the bar of this Court in good standing and who maintains an office

                                  15   within the State of California. Local co-counsel’s bar number is: _________________.
                                                                                                         197971

                                  16
                                       1700 Penn. Ave. NW Washington, DC 20006                633 West Fifth Street Los Angeles, CA 90071
                                  17    MY ADDRESS OF RECORD                                   LOCAL CO-COUNSEL’S ADDRESS OF RECORD

                                  18   +1 202 737 0500                                        +1 213 443 4355
                                        MY TELEPHONE # OF RECORD                               LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD
                                  19
                                       rrosenstein@kslaw.com                                  jakro@kslaw.com
                                  20    MY EMAIL ADDRESS OF RECORD                             LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD

                                  21

                                  22           I am an active member in good standing of a United States Court or of the highest court of
                                  23   another State or the District of Columbia, as indicated above; my bar number is: 432439                   .
                                  24           A true and correct copy of a certificate of good standing or equivalent official document
                                  25   from said bar is attached to this application.
                                  26           I have been granted pro hac vice admission by the Court _______
                                                                                                       0       times in the 12 months
                                  27   preceding this application.
                                  28
                                         Case 3:20-cv-07811-RS           Document 152        Filed 10/30/24      Page 2 of 2




                                   1            I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially

                                   2   the Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local

                                   3   Rules. I declare under penalty of perjury that the foregoing is true and correct.

                                   4   Dated: October 30, 2024                                       Rod J. Rosenstein
                                                                                                     APPLICANT
                                   5

                                   6

                                   7

                                   8                                  ORDER GRANTING APPLICATION

                                   9                          FOR ADMISSION OF ATTORNEY PRO HAC VICE

                                  10

                                  11            IT IS HEREBY ORDERED THAT the application of Rod J. Rosenstein                       is

                                  12   granted, subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney
Northern District of California
 United States District Court




                                  13   must indicate appearance pro hac vice. Service of papers upon, and communication with, local co-

                                  14   counsel designated in the application will constitute notice to the party.

                                  15   Dated:

                                  16

                                  17
                                                                                  UNITED STATES DISTRICT/MAGISTRATE JUDGE
                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                       Updated 11/2021                                   2
